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                              EXHIBIT 118
                                                              Case: 1:17-md-02804-DAP Doc #: 1960-12 Filed: 07/23/19 2 of 2. PageID #: 138395




                                                                                                                                                            1999 - 2-017 (June) Endo Total Pills/Units Shipped
                                                                                                                                                                                                                                                                                                                                                                       E1811.1
                                                                                                                                                          Source: ENDO_DATA-OPIOID_MDL-00000025- 41

                  Ycar/Druu                         1999             2000              2001            2002             2003              200-t           2005            2006             2007             2008             2009             2010           2011           2012           2013         201-t          2015          2016           2017(.Junc)          TOTAL
Kndocet                                            163,658,200      165,952,-tOO      221,55-t,800    300,818,900      370,657,9-tO     -t-t3,705,000    298,2-t8,600    353,227,000      327,8-t6,700     338,201,-tOO    -t7-t,-t15,700   -t59,788,800    319,-t65,-t00             0            0              0             0              0                  0      4,237,540,840
Emlorndonc                                             206,800           381,700        1,07-t,300               0                0                  0              0                 0                0               0                0              {I               0             0            0              0             {I             0                  0          1,662,800
Endodan                                             10,986,700       19,320,600        20,555,900      22,2-t2,700      15,3-t0,100       11,318,500       1,951,300            1-t,150          13,6-t7         22,535            29,395        26,931           16,565              0            0              0             0              0                  0        101,839,023
Hvcndan                                             29,301,100        2,907,-tOO        2,516,500       2,027,808        2,165,-tOO           569,100        37-t,200         3-t2,700         913,900              900                ()             0                 0             0            0              ()            ()             ()                 0         41,119,008
JIJ·rndans,...up(Pint)                               1886035          19-t0850          1161280         l-t99385         1182,275             792015         558695           5881-t5          -t91,625         28-tl-t5               0              0                 0             ()           ()              0            0              0                  0         10,384,450
Ilvcomlne                                              72-t,OOO       l,l-t0,800           766,000        691,600          905,-tOO           563,700         53,300                  0                0               0               0              0                 0             0            0               0            0              0                  0          4,844,800
Ilvcominc PED Snup (Pint)                              783,085           -tS0,205                 0              ()               0                  0              0                 0                0               0               0              0                 0             0            0               0            ()             0                  ()         1,233,290
Hycominc Syrup t l'Int)                                961,-t95          520,790                  0              0                0                  0              0                 0                0               0               0               ()               0             ()           0               0            ()             0                  0          1,482,285
Ilvcotuss Snu11 (Pint)                               1,660,030        1,608,255            827,925      1,007,190          768,6-tS           793,155        S-t2,925         589,380          62-t,815             855                ()               0               0             0            0               0            0              0                  0          8,423,175
llnlrn/,\1',\P                                       8,591,700        -t,832,000                  0              0                0                  0              0                 0                0               0               0                0               0             0            0               0            0              ()                 0         13,423,700
Ilydromorphone                                       3,66-t,100       3,767,600         3,8-t7,900      5,126,-tOO               (I         5,203,600        71-t,IOO                 0                0               0               ()               0               0             0            0               0            ()             (I                 ()        22,323,700
l\lm·11hincSulfatcER                                16,-t99,100      36,505,100        5-t,135,100    101,73-t,600     128,756,522       IOO,-t68,000     87,002,600      88,172,300       9-t,10-t,900     90,6-tl,800    1-t3,lll,900     12-t,-t37,900   103,992,200               0            0               0            ()              0                 ()     1,169,562022
NumorphanAl\ll'(xlO)                                    181,-t90         197,080                30         2-t,300          -t6,200           106,8-tO       107,650          150,750            53,100                0               0                0               0             0            ()              0            0               0                 0            867,440
NumorphanSuppositm'icsl'k:?of6                           -t3,158           29,112                 0              0                0                  0              0                 0                0               0               0               ()               0             ()            0              0            (l              0                 0             72,270
Numorphan(\'ial)                                         25,587            36,021            2,0-tl          s.roo          15,582              5,562               0                 0                0               0               0                0               0              0            0              0            0               0                 ()            93193
Onana                                                          0                  0              (I             0                 0                  0              ()     2,097,100        7,667,000       13,226,900      17,795,300       17,069,700       5,6-t8,600       156,900        512,800        180,000            ()              0                 0         64,354,300
Onana Kk                                                       0                  0             0               0                 0                  0              0      -t,-t77,900     18,196,800       3-t,239,500     -t3,5-t0,700     59,-tSl,-tOO    85,358,300     63,-tS0,820    50,959,900   -t-t,151,360   -t0,720,380   3-t,092,120       l-t,058,2-t(l       492,697,420
Opanalnjcrtion(xlO)                                            0                  0             0               0                 0                  0              {I               ()        l-t8,080         180,180         139,350          163,370         182,280       1-t-t,880      128,820        127,000       156,870       128,690            22,110           1521,630
011,11mIR                                                      0                  0             0               0                 0                 {I              {I              0                  0              ()               ()               0              ()              0           ()              0       635,300       -t65,800          205,900           1,307,000
Oxvcodone Al'Al'                                               0          1-t9,-t00       510,100         186,000                ()                0                 0              0                  0               0               0                0              0              ()            0             (I             0              0                 ()           845 500
Oxvcndonc Klc                                                  0                  0             0                ()               0                0     131,80-t,-tOO   U8,128,000              13,000                0               ()               0              0              0             0              0             0              0                 0        279,945,400
Oxvmorphonc Ilvdrochloride                                     0                  0              ()               0               0                0                 0              0                  0               0               0          t6,8-t7        70,958               0             0              0             0              0                 ()            87,805
Percocet                                           101,736,700      180,526,900       182,231,-tOO    212,112,500      266,352,000      132,5-tJ,300      99,29-t,700     8-t,889,600      70,800,600       6-t,037,900     57,993,200       -t2,77-t,200    36,011,100     21,88-t,300    17,769,100    5,-tS-t,900   13,787,700    10,737,600         -t,5-t3,200      1605,480,900
Percodan                                             8,803,000        9,683,700         5,555,300       5,-t57,500       -t,938,600       3,663,700        2,828,700       1,796,929             21,672          18,-t23        1-t,2-t6          11,420          8,830          6,353              0              0             0             ()                 0         42,808,373
Percolonc                                            l,-t63,600       2,628,900         3,393,500          122,900                0                0                 0              0                  0              ()               0                0              0              0             0              0            {I            0                   0          7,608,900
Zvdone                                               6,017,200       19,5-t9,800       18,-t60,500      9,38-t,-too     11,138,800        8,3-t7,800       6,230,800       5,801,900        -t,718,900       -t,293,800      2,8-t6,100        2,591,600      2,08-t,OOO     1,321,600        212,900              0            0             0                   0        103,000,100
TOTAL                                              357,193,080      452,128,613       516,592,576     662,444,583      802,267,464      708,080,272      629,711,970     690,275,854      525,614,739      545,148,338     739,885,891      706,332,168     552,838,233     86,964,853     69,583,520   49,913,260     55,300,250    45,424,210        18,829,450       8,214,529,324




Data produced docs not provide size of units shipped for certain years and products, The numbers shaded in ,·cllnw represent units shipped.




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